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                        IN THE UNITED STATES DISTRICT COURT
                   IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA

                                              Case No.

 LAWRENCE A. CAPLAN

                Petitioner,
 v.

 DONALD J. TRUMP

                Respondent

                        COMPLAINT AND REQUEST FOR DECLARATORY RELIEF

        Petitioner now comes before this honorable Court seeking declaratory relief on the

 specific issue of whether candidate Donald J. Trump is indeed constitutionally prohibited from

 seeking a second term as President of the United States. Encompassed within this request for

 declaratory relief is a further determination as to whether candidate Trump is indeed even

 eligible to participate in the upcoming Florida Republican Party Primary scheduled for next

 spring in 2024.

        In bringing this request for declaratory relief Petitioner has carefully studied the specific

 provisions of the U.S. Constitution which govern whether an individual who participates in an

 overt rebellion and/or insurrection against the U.S. government is effectively disqualified from

 service in the federal government, whether as a Representative, U.S. Senator, Vice-President or

 President of the United States.

        For purposes of standing, Petitioner asserts that he had actively participated in the last

 twelve Presidential elections dating back to 1976 when he cast his first vote at the age of
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 eighteen. It should be noted that in the course of these 12 Presidential elections, Petitioner has

 cast his vote for both Democratic and Republican tickets and was a registered Independent for

 many years. Petitioner is a legal resident of the state of Florida and a U.S. citizen by birth.

 Petitioner has also been a member of the Florida Bar since 1984, the State Bar of California since

 1985, the Oregon State Bar since 1997, and is currently a member of the U.S. Tax Court, the

 U.S. District Court for the Southern District of Florida, the 11th Circuit Court of Appeals and the

 United States Supreme Court. Petitioner has never been sanctioned or suspended by any court.

        The facts of this case are undeniably simple. Donald J. Trump served a the 45th President

 of the United States having won the election in 2016 and was inaugurated on January 20, 2017.

 He served for four years until he lost the 2020 Presidential Election to Joseph R. Biden, Jr. who

 took office on January 20, 2021. President Trump chose not to appear at the inauguration of his

 successor. Having left for his estate in South Florida while the ceremony was taking place.

        On January 6, 2021, after giving a speech to a throng on the Ellipse near the Capitol,

 President Trump exhorted the throng to march to the Capitol and told them that he would be

 right there with them. After he was finished with his speech, Trump returned to the White House

 and watched he later events unfold on television. As we are well aware, the throng marched on

 the Capitol, forced their way into the Capitol building, ransacked the rotunda area, and even

 made their way into several offices of representatives and senators. As the confirmation of the

 results of the election were being undertaken in the House, alarms went off and the members

 scurried into safe tunnels and secure rooms in the basement of the Capitol. Of note. Vice

 President Mike Pence missed being reached by some of the throng by a matter of seconds as he

 made his way down the stairwell to a secure area. Eventually, several high-ranking members of

 the government were shuttled to a safe area at Fort McNair in SW Washington.
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        Of note, President Trump had sent out a tweet the day before claiming that “January 6th

 will be wild”. Trump also later remarked that the insurrectionists who had breached the Capitol

 were “special” and that “we love you”. He also later remarked that had Vice-President Pence

 simply done his job and refused to certify the results of the election that everything would have

 been fine. Not for several hours were the National Guard called in to quell the insurrection as

 allegedly President Trump refused to do so and had been mesmerized by the events that were

 taking place on his television at the White House.

        Since the events of January 6th, hundreds of insurrectionists have been charged and tried

 and convicted on charges ranging from simple mischief to assault and battery upon Capitol

 police officers. A number of individuals actually lost their lives that day as a result of the

 mayhem.

        Recently, the Special Counsel, Jack Smith, who had been appointed by the U.S. Attorney

 General, submitted his findings on the events of January 6th, to an empaneled grand jury in D.C.

 which returned indictments against President Trump for, among other things, insurrection against

 the U.S. federal government. Trump was arraigned on these charges and now awaits trial

 sometime in 2024 or perhaps 2025.

        It should be noted at least cursorily that Trump has also been formally indicted on

 charges of holding top secret documents at his home in Palm Beach, Florida, which is a federal

 offense, and ahs also been indicted by the City of Manhattan and State of Georgia for other

 election related crimes. However none of these other crimes have the effect of preventing

 President Trump from seeking reelection in November, 2024.
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               THE LAW ON THE MATTER OF INCITING INSURRECTION
                      AGAINST THE FEDERAL GOVERNMENT

        The Fourteenth Amendment to the U.S. Constitution was ratified in 1868 in the shadow

 of the Civil War and was designed to represent a new birth of freedom for previously

 disenfranchised citizens. Of particular note, Section 3 of the 14th Amendment, automatically

 excludes from future office and position of power in the U.S. government and as well, from any

 office and position of power in the sovereign states and their many subdivisions, any individual

 who has previously taken an oath to support and defend our Constitution and after which acts so

 as to rebel against that charter, either via overt insurrection or by giving aid or comfort to the

 Constitutions’ enemies.

        In carefully analyzing this language embedded in the Constitution, numerous legal

 scholars have wrangled with the preeminent issue of whether an actual conviction is necessary to

 trigger the prohibition of running for office. This so-called “disqualification clause” has been

 determined to operate completely independently of any pending criminal proceedings and also

 independent of any impeachment proceedings or congressional legislation. Former federal judge

 Michael Luttig of the U.S. Court of Appeals for the Fourth Circuit and noted legal scholar

 Laurene Tribe have both come to the inescapable conclusion that the “disqualification clause”

 was designed to operate directly and immediately upon this certain individuals who betray their

 oaths to the U.S. Constitution, whether by taking up arms to overturn our government or by

 waging war on our federal government by attempting to overturn the results of a presidential

 election through a bloodless coup.

        President Trump’s efforts both in Washington, as well as in Georgia and perhaps other

 states, as well as the consequential assault on the US Capitol, put Trump at the center of the

 disqualification clause, and as a result of which, make him ineligible to ever serve in federal
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 office again. Now given that the facts seem to be crystal clear that Trump was involved to some

 extent in the insurrection that took place on January 6th, the sole remaining question is whether

 American jurists who swear an oath to uphold the US Constitution upon their entry to the bench,

 will choose to follow the letter of the Constitution in this case.

        Of particular note in this regard is that during his one term in office, President Trump had

 the opportunity to appoint three new Supreme Court justices to the high court. Each of these

 three jurists, Justice Neil Gorsuch, Justice Brett Kavanaugh and Justice Amy Coney Barrett are

 viewed as conservative jurists who err on the side of a strict construction of the US Constitution.

 In their decision to overturn the long standing case law of Roe v. Wade, the justices found that

 there was no ”right of privacy” imbued in the Constitution and none could be fashioned out of

 whole cloth. Rather the most difficult decisions that the Court is forced to make such as whether

 a woman has the inherent right to abort her unborn child, is one that must be decided by looking

 at a very strict construction of the Constitution as our Founding Fathers saw fit to provide.

        Interestingly enough, Section 3 of the 14th Amendment, which provides for the

 disqualification of an individual who commits insurrection against our government has remained

 on the books for some one hundred and fifty plus years without ever facing question as to its

 legitimacy. While one can certainly argue that it has not been thoroughly tested, that fact is only

 because we have not faced an insurrection against our federal government such as the one while

 we faced on January 6, 2021. It should also be noted that President Trump has since made

 statements to the effect that should he be elected, he would advocate the total elimination of the

 US Constitution and the creation of a new charter more in line with his personal values.

        The 14th Amendment was promulgated and subsequently ratified in the context of post

 Civil War America when even after losing the Civil War, southern states were sending men to
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 Congress who had held prominent roles in the Confederacy and supported acts of insurrection

 against the U.S.

        Any number of top legal scholars, including but not limited to Judge Luttig and Laurence

 Tribe conclude that Section 3 requires absolutely no legislation, criminal conviction or other

 judicial action to enforce its command. In legal terms, Section 3 is completely “self-executing”.

 They conclude that disqualification subject to Sectio n 3 does not constitute a punishment or a

 deprivation of any :liberty” or “ right” as much as one who fails to satisfy the Constitution’s

 qualifications does not have an absolute right to serve in a public office much less the

 presidency. Lastly, the scholars conclude that Section 3 is expansive and all-encompassing is

 what it regards as “insurrection or rebellion” against the constitutional order of the United States.

        Taken along these same lines, had it been conclusively proven that Barack Obama had

 not been born in Hawaii but rather outside of the U.S., the Constitution would have conclusively

 barred him from seeking the Presidency. And Petitioner is convinced that there would have been

 no “wiggle room” to allow him to escape that Constitutional requirement. Furthermore, had

 President Trump merely been thought by many individuals to have engaged in an insurrection

 against the federal government, that would not have sufficed to trigger Section 3 of the 14th

 Amendment. However, the mere fact that he has been formally indicted for various felonies

 including insurrection against the federal government mandates that Section 3 of the 14th

 Amendment be triggered.

        The bottom line here is that President Trump both engaged in an insurrection and also

 gave aid and comfort to other individuals who were engaging in such actions, within the clear

 meaning of those terms as defined in Section Three of the 14th Amendment. Assuming that the
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 public record to date is accurate, and we have no evidence to the contrary, Trump is no longer

 eligible to seek the office of the President of the United States, or of any other state of the Union.

        As such, this Court having the innate power to rule as to the tenets of the U.S.

 Constitution, is abjectly required to find that Donald J. Trump’s actions with respect to the

 January 6th uprising, and specifically the fact that he has been indicted for said acts, have

 effectively disqualified him from seeking the office of the President of the United States, and

 effectively barred him from participation in the Florida Republican primary for President next

 spring. While Petitioner fully understands that his seeking this declaratory judgment places great

 pressure on the jurists who will be tasked with hearing this case, we believe that the law is

 abundantly clear as to the issues at bar and that if the jurists are ready to follow the specific

 language of the US Constitution in this regard, the decision should be a relative easy one.

        WHEREFORE, Petitioner respectfully asks this honorable Court to enter a declaratory

 judgment such that Donald J, Trump is barred from seeking the office of President of the United

 States and further, is barred rom particpating in the Republican Presidential primary in Florida in

 the spring of 2024.

        Respectfully submitted,



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